                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             NO. 1:15-CV-00399

SANDRA LITTLE COVINGTON, et al.,               )
                                               )
                 Plaintiffs,                   )
                                               )
                                                      LEGISLATIVE DEFENDANTS’
                     v.                        )
                                                      PROPOSED QUESTIONS TO
                                               )
                                                      THE SPECIAL MASTER
 STATE OF NORTH CAROLINA, et al.               )
                                               )
                Defendants.                    )
                                               )

       Pursuant to the Order entered December 21, 2017 (D.E. 233), legislative

defendants submit the following proposed questions for the special master.

       For the record, however, legislative defendants object to being limited to

propounding of written questions screened in advance by the Court in lieu of a deposition

or cross-examination under oath in open court. Based on the work the special master has

performed for the Court so far, it appears that Professor Persily is acting not as a special

master under Rule 53, Fed. R. Civ. P., but rather as a court-appointed expert under Rule

706, Fed. R. Evid. This seems particularly true in light of the fact that the Court has not

yet issued what it contends is a final ruling on the plaintiffs’ objections to the 2017 plans.

Under Rule 706, the court-appointed expert “may be deposed by any party,” “may be

called to testify by the court or any party,” and “may be cross-examined by any party.”

Fed. R. Evid. 706(b)(2)-(4). The designation of Professor Persily as a special master

rather than a court-appointed expert is thus frustrating the legislative defendants’ due




      Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 1 of 9
process rights and represents another derogation of State sovereignty in these

proceedings.

         Subject to the foregoing, legislative defendants propound the following questions:

         1.    Identify and describe all ex parte communications with members of the

Court.

         2.    Identify and describe all ex parte communications since October 26, 2017

with court personnel, including law clerks.

         3.    Identify and describe all communications you have had from October 26,

2017 to December 1, 2017 with any attorney or employee of any of the following: the

Campaign Legal Center, the NC NAACP, the national NAACP, Democracy NC, NC

Common Cause, the national Common Cause, and/or the National Democratic

Redistricting Trust. In addition, please disclose any monetary payments received by you

(or agreements to make future monetary payments to you) from any of these

organizations for work by you in connection with preparation of amicus briefs or legal

representation in redistricting litigation since 2011.

         4.    Identify each individual with whom you have had any communications

regarding your final report and describe the substance of each such communication.

         5.    Identify each individual who assisted you in preparing your final report and

describe the substance of any such assistance.

         6.    Please provide the text of the request you made to the Court in the

communication identified in footnote 7 of your final report and the text of the Court’s

response.

                                           2



      Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 2 of 9
       For the following, please admit or deny the truth of the matter requested. For any

matter denied, or for which you offer a qualified answer, please explain the basis for the

denial or qualified answer.

       House District 57

       7.     Admit that your final report does not offer an opinion about whether race

predominated in the drawing of the 2017 House District (“HD”) 57.

       8.     Admit that your final report does not conclude that race predominated in

the drawing of the 2017 HD 57.

       9.     Admit that you made no findings of fact regarding racial predominance in

the drawing of the 2017 HD 57.

       10.    Admit that you reviewed data regarding the race of voters while redrawing

HD 57.

       11.    Admit that you drew drafts of HD 57 which are not reported in your draft

or final reports. If such drafts exist, please produce copies of all drafts of HD 57 drawn

by you prior to submitting your draft report and final report. For each such draft, please

also produce the stat pack for HD 57 and all other House districts in Guilford County for

that draft.

       12.    Admit that you did not consult with any elected official in Guilford County

(federal, state or local) in redrawing HD 57 or any other House Districts in Guilford

County. If you did consult with any such person, identify the person with whom you

consulted and describe the substance of those conversations.



                                        3



      Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 3 of 9
       13.    Admit that you did not use election results data in redrawing HD 57 or any

other House Districts in Guilford County.

       14.    Admit that in redrawing HD 57 you did not attempt to draw a district in

which the current incumbent would have a reasonable opportunity to win.

       15.    Admit that in redrawing House Districts in Guilford County you did not

draw districts in which the current incumbents of those districts would have an

opportunity to win.

       House District 21

       16.    Admit that your final report does not offer an opinion about whether race

predominated in the drawing of the 2017 HD 21.

       17.    Admit that your final report does not conclude that race predominated in

the drawing of the 2017 HD 21.

       18.    Admit that you made no findings of fact regarding racial predominance in

the drawing of the 2017 HD 21.

       19.    Admit that you reviewed data regarding the race of voters while redrawing

HD 21.

       20.    Admit that you drew drafts of HD 21 which are not reported in your draft

or final reports. If such drafts exist, please produce copies of all drafts of HD 21 drawn

by you prior to submitting your draft report and final report. For each such draft, please

also produce the stat pack for HD 21 and all other House districts in Sampson County for

that draft.



                                        4



      Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 4 of 9
         21.   Admit that you did not consult with any elected official in Sampson County

(federal, state or local) in redrawing HD 21 or any other House Districts in Sampson

County. If you did consult with any such person, identify the person with whom you

consulted and describe the substance of those conversations.

         22.   Admit that you did not use election results data in redrawing HD 21 or any

other House Districts in Sampson County.

         23.   Admit that in redrawing HD 21 you did not attempt to draw a district in

which the current incumbent would have a reasonable opportunity to win.

         24.   Admit that in redrawing House Districts in Sampson County you did not

draw districts in which the current incumbents of those districts would have an

opportunity to win.

         Senate District 28

         25.   Admit that your final report does not offer an opinion about whether race

predominated in the drawing of the 2017 Senate District (“SD”) 28.

         26.   Admit that your final report does not conclude that race predominated in

the drawing of the 2017 SD 28.

         27.   Admit that you made no findings of fact regarding racial predominance in

the drawing of the 2017 SD 28.

         28.   Admit that you reviewed data regarding the race of voters while redrawing

SD 28.

         29.   Admit that you drew drafts of SD 28 which are not reported in your draft or

final reports. If such drafts exist, please produce copies of all drafts of SD 28 drawn by

                                         5



     Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 5 of 9
you prior to submitting your draft report and final report. For each such draft, please also

produce the stat pack for SD 28 and all other Senate districts in Guilford County for that

draft.

         30.   Admit that you did not consult with any elected official in Guilford County

(federal, state or local) in redrawing SD 28 or any other Senate Districts in Guilford

County. If you did consult with any such person, identify the person with whom you

consulted and describe the substance of those conversations.

         31.   Admit that you did not use election results data in redrawing SD 28 or any

other Senate Districts in Guilford County.

         32.   Admit that in redrawing SD 28 you did not attempt to draw a district in

which the current incumbent would have a reasonable opportunity to win.

         33.   Admit that in redrawing Senate Districts in Guilford County you did not

draw districts in which the current incumbents of those districts would have an

opportunity to win.

         Senate District 21

         34.   Admit that your final report does not offer an opinion about whether race

predominated in the drawing of the 2017 SD 21.

         35.   Admit that your final report does not conclude that race predominated in

the drawing of the 2017 SD 21.

         36.   Admit that you made no findings of fact regarding racial predominance in

the drawing of the 2017 SD 21.



                                         6



         Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 6 of 9
         37.   Admit that you reviewed data regarding the race of voters while redrawing

SD 21.

         38.   Admit that you drew drafts of SD 21 which are not reported in your draft or

final reports. If such drafts exist, please produce copies of all drafts of SD 21 drawn by

you prior to submitting your draft report and final report. For each such draft, please also

produce the stat pack for SD 21 and all other Senate districts in Cumberland County for

that draft.

         39.   Admit that you did not consult with any elected official in Cumberland

County (federal, state or local) in redrawing SD 21 or any other Senate Districts in

Cumberland County. If you did consult with any such person, identify the person with

whom you consulted and describe the substance of those conversations.

         40.   Admit that you did not use election results data in redrawing SD 21 or any

other Senate Districts in Cumberland County.

         41.   Admit that in redrawing SD 21 you did not attempt to draw a district in

which the current incumbent would have a reasonable opportunity to win.

         42.   Admit that in redrawing Senate Districts in Cumberland County you did not

draw districts in which the current incumbents of those districts would have an

opportunity to win.




                                         7



      Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 7 of 9
This 27th day of December, 2017.

                          OGLETREE, DEAKINS, NASH,
                          SMOAK & STEWART, P.C.

                          /s/ Phillip J. Strach
                          Phillip J. Strach
                          N.C. Bar No. 29456
                          Michael D. McKnight
                          N.C. Bar No. 36932
                          4208 Six Forks Road, Suite 1100
                          Raleigh, North Carolina 27609
                          Phone: (919) 787-9700
                          Facsimile: (919) 783-9412
                          Email:phil.strach@ogletreedeakins.com
                          Attorneys for Legislative Defendants




                                   8



Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 8 of 9
                             CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of December, 2017, I have served the

foregoing LEGISLATIVE DEFENDANTS’ PROPOSED QUESTIONS TO THE

SPECIAL MASTER with the Clerk of the Court using the CM/ECF system which will

send notification of such filing to the following:

Edwin M. Speas, Jr.                            Allison J. Riggs
Carolina P. Mackie                             Southern Coalition for Social Justice
Poyner Spruill LLP                             1415 Highway 54, Suite 101
P.O. Box 1801 (27602-1801)                     Durham, NC 27707
301 Fayetteville St., Suite 1900               allisonriggs@southerncoalition.org
Raleigh, NC 27601                              Attorneys for Plaintiffs
espeas@poynerspruill.com
cmackie@poymerspruill.com
Attorneys for Plaintiffs

                                               Alexander McC. Peters
                                               Senior Deputy Attorney General
                                               N.C. Department of Justice
                                               P.O. Box 629
                                               Raleigh, NC 27602

                                           OGLETREE, DEAKINS, NASH,
                                           SMOAK & STEWART, P.C.

                                           /s/ Phillip J. Strach
                                           Phillip J. Strach
                                           N.C. Bar No. 29456
                                           4208 Six Forks Road, Suite 1100
                                           Raleigh, North Carolina 27609
                                           Phone: (919) 787-9700
                                           Facsimile: (919) 783-9412
                                           Email: phil.strach@ogletreedeakins.com

                                                                                   32424524.1


                                                                                   32424524.1




                                          9



      Case 1:15-cv-00399-TDS-JEP Document 235 Filed 12/27/17 Page 9 of 9
